Case 4:20-cv-00957-SDJ Document 557-5 Filed 07/12/24 Page 1 of 16 PageID #: 19019




                          EXHIBIT 4-A
     Case 4:20-cv-00957-SDJ Document 557-5 Filed 07/12/24 Page 2 of 16 PageID #: 19020


Ethan Glenn

From:                              Ethan Glenn
Sent:                              Wednesday, July 10, 2024 2:53 PM
To:                                Patchen, Kate
Cc:                                Bowlus, Michael E; Zeke DeRose III; Marc B. Collier; Geraldine W. Young; noah.heinz;
                                   Daniel Backman; Shane Kelly; Archer, Elizabeth; Fitch, Jackie
Subject:                           RE: TX-Meta Subpoena
Attachments:                       2024.07.08 Draft Meta Employee Decl_wRedLine.pdf


Good afternoon Kate and Covington team,

Thank you for sending Meta’s proposed declaration for us to review. After reviewing the proposed declaration, we have
just one suggested addition to the last paragraph. If that line is acceptable to Meta, we can call the conferral a success
without need for a call and can move on to executing the declaration. As discussed, if Meta executes the declaration with
the proposed addition, that will resolve the outstanding issue.

The proposed addition is in red in the attached and excerpted below:

“Meta produced all of the documents in the FBDOJGOOG Bates range and a subset of the documents in the FBDOJ
Bates range to the State Plaintiffs in this litigation on April 23, 2024. The documents that Meta produced to the State
Plaintiffs reflect the materials Meta identified as likely to contain relevant information. The non-produced subset of
documents in the FBDOJ Bates range that were not produced to the State Plaintiffs are not likely to contain relevant
information.”

If this is acceptable, please let us know. Otherwise, we’ll be on the call at 3:30 CT.

Regards,

Ethan Glenn | Counsel
Norton Rose Fulbright US LLP
98 San Jacinto Boulevard, Suite 1100, Austin, Texas 78701-4255, United States
Tel +1 512 536 2437 | Fax +1 512 536 4598
ethan.glenn@nortonrosefulbright.com

NORTON ROSE FULBRIGHT
Law around the world
nortonrosefulbright.com


From: Patchen, Kate <KPatchen@cov.com>
Sent: Monday, July 8, 2024 6:02 PM
To: Ethan Glenn <ethan.glenn@nortonrosefulbright.com>
Cc: Bowlus, Michael E <mbowlus@cov.com>; Fitch, Jackie <JFitch@cov.com>; Zeke DeRose III
<zeke.derose@lanierlawfirm.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>; Geraldine W. Young
<geraldine.young@nortonrosefulbright.com>; Noah Heinz <noah.heinz@kellerpostman.com>; Daniel Backman
<daniel.backman@kellerpostman.com>; Shane Kelly <shane.kelly@kellerpostman.com>; Archer, Elizabeth
<EArcher@cov.com>
Subject: RE: TX-Meta Subpoena

Hi Ethan,



                                                               1
        Case 4:20-cv-00957-SDJ Document 557-5 Filed 07/12/24 Page 3 of 16 PageID #: 19021
I hope you all had a nice Fourth of July holiday. I am sending you a draft declaration ahead of the deadline to give us an
opportunity to meet and confer about the content. Please let me know if this is satisfactory, and we will execute it. If
more is needed, please let me know your availability for a call tomorrow to discuss.

Best,
Kate



From: Patchen, Kate
Sent: Wednesday, June 19, 2024 4:33 PM
To: 'Ethan Glenn' <ethan.glenn@nortonrosefulbright.com>
Cc: Bowlus, Michael E <mbowlus@cov.com>; Fitch, Jackie <JFitch@cov.com>; Zeke DeRose III
<zeke.derose@lanierlawfirm.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>; Geraldine W. Young
<geraldine.young@nortonrosefulbright.com>; Noah Heinz <noah.heinz@kellerpostman.com>; Daniel Backman
<daniel.backman@kellerpostman.com>; Shane Kelly <shane.kelly@kellerpostman.com>
Subject: RE: TX-Meta Subpoena

Ethan,

The below is correct with the exception that our emails just cross with regard to the two weeks. We’d request that the
deadline to resolve this be extended three weeks, past the July 4 holiday.

Best,
Kate



Kate Patchen
Covington & Burling LLP
Salesforce Tower, 415 Mission Street, Suite 5400
San Francisco, CA 94105-2533
T +1 415 591 6031 | kpatchen@cov.com
www.cov.com




From: Ethan Glenn <ethan.glenn@nortonrosefulbright.com>
Sent: Wednesday, June 19, 2024 3:17 PM
To: Patchen, Kate <KPatchen@cov.com>
Cc: Bowlus, Michael E <mbowlus@cov.com>; Fitch, Jackie <JFitch@cov.com>; Zeke DeRose III
<zeke.derose@lanierlawfirm.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>; Geraldine W. Young
<geraldine.young@nortonrosefulbright.com>; Noah Heinz <noah.heinz@kellerpostman.com>; Daniel Backman
<daniel.backman@kellerpostman.com>; Shane Kelly <shane.kelly@kellerpostman.com>
Subject: RE: TX-Meta Subpoena

[EXTERNAL]
Kate,

We appreciate y’all jumping on a meet & confer today. I’m following up to memorialize the call and next steps; please let
me know if any of this is incorrect.


                                                             2
      Case 4:20-cv-00957-SDJ Document 557-5 Filed 07/12/24 Page 4 of 16 PageID #: 19022
During the call, we discussed the States’ need to verify the documents in the proposed reproduction before the States
could withdraw its opposition to Meta’s motion for protective order. The States offered to withdraw opposition in exchange
for a declaration stating that none of the proposed reproduction were potentially relevant to the claims, defenses, or
issues in this matter.

In response, Meta stated it could provide the States additional information and targeted declarations regarding specific
portions of the proposed reproduction to potentially satisfy the States’ need to verify those documents, for the purpose of
potentially agreeing to limit the scope of the proposed reproduction. Meta stated it could provide that information/ those
declarations within the next two weeks. The States were amenable to that proposal.

The States’ response to Meta’s protective order is due tomorrow, June 20. The States will file a notice informing the Court
the parties are conferring and attempting to resolve this issue and asking the Court to extend the States’ deadline to
respond.

Noah and his team, cc’d to this email, will draft that notice. Can you please confirm that he can note that Meta agrees to
the proposed extension?

Regards,

Ethan Glenn | Counsel
Norton Rose Fulbright US LLP
98 San Jacinto Boulevard, Suite 1100, Austin, Texas 78701-4255, United States
Tel +1 512 536 2437 | Fax +1 512 536 4598
ethan.glenn@nortonrosefulbright.com

NORTON ROSE FULBRIGHT
Law around the world
nortonrosefulbright.com

From: Ethan Glenn
Sent: Wednesday, June 19, 2024 2:09 PM
To: Patchen, Kate <KPatchen@cov.com>
Cc: Bowlus, Michael E <mbowlus@cov.com>; Fitch, Jackie <JFitch@cov.com>; Zeke DeRose III
<zeke.derose@lanierlawfirm.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>; Geraldine W. Young
<geraldine.young@nortonrosefulbright.com>; Noah Heinz <noah.heinz@kellerpostman.com>; Daniel Backman
<daniel.backman@kellerpostman.com>; Shane Kelly <shane.kelly@kellerpostman.com>
Subject: RE: TX-Meta Subpoena

Kate,

Yes it will, I’ll circulate an invite.

Regards,

Ethan Glenn | Counsel
Norton Rose Fulbright US LLP
98 San Jacinto Boulevard, Suite 1100, Austin, Texas 78701-4255, United States
Tel +1 512 536 2437 | Fax +1 512 536 4598
ethan.glenn@nortonrosefulbright.com

NORTON ROSE FULBRIGHT
Law around the world
nortonrosefulbright.com

From: Patchen, Kate <KPatchen@cov.com>
Sent: Wednesday, June 19, 2024 2:04 PM
                                                             3
        Case 4:20-cv-00957-SDJ Document 557-5 Filed 07/12/24 Page 5 of 16 PageID #: 19023
To: Ethan Glenn <ethan.glenn@nortonrosefulbright.com>
Cc: Bowlus, Michael E <mbowlus@cov.com>; Fitch, Jackie <JFitch@cov.com>; Zeke DeRose III
<zeke.derose@lanierlawfirm.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>; Geraldine W. Young
<geraldine.young@nortonrosefulbright.com>; Noah Heinz <noah.heinz@kellerpostman.com>; Daniel Backman
<daniel.backman@kellerpostman.com>; Shane Kelly <shane.kelly@kellerpostman.com>
Subject: RE: TX-Meta Subpoena

Hi Ethan,

I am available. Will this afternoon at 4 p.m. CT work for you?

Best,
Kate

From: Ethan Glenn <ethan.glenn@nortonrosefulbright.com>
Sent: Wednesday, June 19, 2024 11:56 AM
To: Patchen, Kate <KPatchen@cov.com>
Cc: Bowlus, Michael E <mbowlus@cov.com>; Fitch, Jackie <JFitch@cov.com>; Zeke DeRose III
<zeke.derose@lanierlawfirm.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>; Geraldine W. Young
<geraldine.young@nortonrosefulbright.com>; Noah Heinz <noah.heinz@kellerpostman.com>; Daniel Backman
<daniel.backman@kellerpostman.com>; Shane Kelly <shane.kelly@kellerpostman.com>
Subject: RE: TX-Meta Subpoena

[EXTERNAL]
Good afternoon Kate,

Are you available for a meet & confer later today/tomorrow morning?

Regards,

Ethan Glenn | Counsel
Norton Rose Fulbright US LLP
98 San Jacinto Boulevard, Suite 1100, Austin, Texas 78701-4255, United States
Tel +1 512 536 2437 | Fax +1 512 536 4598
ethan.glenn@nortonrosefulbright.com

NORTON ROSE FULBRIGHT
Law around the world
nortonrosefulbright.com

From: Patchen, Kate <KPatchen@cov.com>
Sent: Tuesday, June 18, 2024 8:33 PM
To: Ethan Glenn <ethan.glenn@nortonrosefulbright.com>
Cc: Bowlus, Michael E <mbowlus@cov.com>; Fitch, Jackie <JFitch@cov.com>; Zeke DeRose III
<zeke.derose@lanierlawfirm.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>; Geraldine W. Young
<geraldine.young@nortonrosefulbright.com>
Subject: RE: TX-Meta Subpoena

Hi Ethan,

Thank you for identifying the specific exhibits in Appendix A. We are pulling those exhibits and reviewing with our
client. Relatedly, now that you’ve had an opportunity to review our motion for a protective order, please let us know if
you will continue to oppose it. We are happy to confer about it.
                                                            4
        Case 4:20-cv-00957-SDJ Document 557-5 Filed 07/12/24 Page 6 of 16 PageID #: 19024


Best,
Kate


Kate Patchen
Covington & Burling LLP
Salesforce Tower, 415 Mission Street, Suite 5400
San Francisco, CA 94105-2533
T +1 415 591 6031 | kpatchen@cov.com
www.cov.com




From: Ethan Glenn <ethan.glenn@nortonrosefulbright.com>
Sent: Tuesday, June 18, 2024 9:26 AM
To: Patchen, Kate <KPatchen@cov.com>
Cc: Lee, Anne <alee@cov.com>; Fitch, Jackie <JFitch@cov.com>; Chow, Kyle W <KChow@cov.com>; Zeke DeRose III
<zeke.derose@lanierlawfirm.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>; Geraldine W. Young
<geraldine.young@nortonrosefulbright.com>
Subject: RE: TX-Meta Subpoena

[EXTERNAL]
Good morning Kate,

I’m emailing to follow up on No. 3 below. At the May 2 deposition, you asked Marc to send you a list of bates numbers
that we wanted to have authenticated via a business declaration. Attached please find an appendix listing those bates
and a draft business records declaration for them. Please let us know if this is acceptable.

Regards,

Ethan Glenn | Counsel
Norton Rose Fulbright US LLP
98 San Jacinto Boulevard, Suite 1100, Austin, Texas 78701-4255, United States
Tel +1 512 536 2437 | Fax +1 512 536 4598
ethan.glenn@nortonrosefulbright.com

NORTON ROSE FULBRIGHT
Law around the world
nortonrosefulbright.com

From: Patchen, Kate <KPatchen@cov.com>
Sent: Thursday, April 25, 2024 10:19 PM
To: Chow, Kyle W <KChow@cov.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>; Zeke DeRose III
<zeke.derose@lanierlawfirm.com>; Fitch, Jackie <JFitch@cov.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>;
Jonathan.Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>; Lee, Anne <alee@cov.com>; Larkin, Brigid
<BLarkin@cov.com>; Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; Gabriel Culver
<gabriel.culver@nortonrosefulbright.com>; Ethan Glenn <ethan.glenn@nortonrosefulbright.com>
Subject: RE: TX-Meta Subpoena

All,



                                                           5
      Case 4:20-cv-00957-SDJ Document 557-5 Filed 07/12/24 Page 7 of 16 PageID #: 19025
I write to confirm our agreement on the deposition topics outlined in our April 24, 2024 letter and to respond
to your four requests from our meet and confer earlier today.

1. We will plan to make our witnesses available to testify at Norton Rose’s offices in London with a 9 a.m. start
     time for both witnesses.
2. We have not yet reached an agreement with Google on the scope of the cross-noticed topics, and I am not
   able to confirm the names of our witnesses until we know the scope of the required testimony.
3. I am confirming that we will provide a business records certification that covers the documents in our
   production.
4. Below is the requested list of relevant custodians in our production:
        Alston, Gene
        Bhojwani, Amit
        Boland, Brian
        Bosworth, Andrew
        Crum, Henry
        Everson, Carolyn
        Fischer, David
        Goldman, Rob
        Jakubowski, David
        Kakokdar, Swarna
        Levy, Dan
        Malo, Lubo
        Moss, Barney
        Rabkin, Mark
        Rose, Dan
        Ryan, Sean
        Sandberg, Sheryl
        Smallwood, Brad
        Velkova, Savina
        Wren, John
        Zuckerberg, Mark

Thank you for your patience with our document production. I understand that you now have full access to the
production, but please let me know if that is not the case.

Best,

Kate Patchen
Covington & Burling LLP
Salesforce Tower, 415 Mission Street, Suite 5400
San Francisco, CA 94105-2533
T +1 415 591 6031 | kpatchen@cov.com
www.cov.com



This message is from a law firm and may contain information that is confidential or legally privileged. If you are not the intended recipient, please
immediately advise the sender by reply e-mail that this message has been inadvertently transmitted to you and delete this e-mail from your system.
Thank you for your cooperation.




From: Chow, Kyle W <KChow@cov.com>
Sent: Wednesday, April 24, 2024 5:40 PM
                                                                             6
       Case 4:20-cv-00957-SDJ Document 557-5 Filed 07/12/24 Page 8 of 16 PageID #: 19026
To: Marc B. Collier <marc.collier@nortonrosefulbright.com>; Patchen, Kate <KPatchen@cov.com>; Zeke DeRose III
<zeke.derose@lanierlawfirm.com>; Fitch, Jackie <JFitch@cov.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>;
Jonathan.Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>; Lee, Anne <alee@cov.com>; Larkin, Brigid
<BLarkin@cov.com>; Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; Gabriel Culver
<gabriel.culver@nortonrosefulbright.com>; Ethan Glenn <ethan.glenn@nortonrosefulbright.com>
Subject: RE: TX-Meta Subpoena

All,

Attached please find an updated letter correcting Meta's proposed dates for the depositions (April 30 & May
2).

Best,
Kyle

From: Chow, Kyle W
Sent: Wednesday, April 24, 2024 8:03 PM
To: 'Marc B. Collier' <marc.collier@nortonrosefulbright.com>; Patchen, Kate <KPatchen@cov.com>; Zeke DeRose III
<zeke.derose@lanierlawfirm.com>; Fitch, Jackie <JFitch@cov.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>;
Jonathan.Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>; Lee, Anne <alee@cov.com>; Larkin, Brigid
<BLarkin@cov.com>; Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; Gabriel Culver
<gabriel.culver@nortonrosefulbright.com>; Ethan Glenn <ethan.glenn@nortonrosefulbright.com>
Subject: RE: TX-Meta Subpoena

Counsel,

Please find the attached letter.

Best,
Kyle

From: Marc B. Collier <marc.collier@nortonrosefulbright.com>
Sent: Wednesday, April 24, 2024 2:56 PM
To: Patchen, Kate <KPatchen@cov.com>; Chow, Kyle W <KChow@cov.com>; Zeke DeRose III
<zeke.derose@lanierlawfirm.com>; Fitch, Jackie <JFitch@cov.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>;
Jonathan.Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>; Lee, Anne <alee@cov.com>; Larkin, Brigid
<BLarkin@cov.com>; Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; Gabriel Culver
<gabriel.culver@nortonrosefulbright.com>; Ethan Glenn <ethan.glenn@nortonrosefulbright.com>
Subject: Re: TX-Meta Subpoena

[EXTERNAL]
Thank you. If proposal coming today, can you provide a few times to discuss tomorrow? I’m in a mediation so Ethan will
likely meet for our side.

Marc

Get Outlook for iOS

From: Patchen, Kate <KPatchen@cov.com>
Sent: Wednesday, April 24, 2024 1:39:21 PM
To: Marc B. Collier <marc.collier@nortonrosefulbright.com>; Chow, Kyle W <KChow@cov.com>; Zeke DeRose III
<zeke.derose@lanierlawfirm.com>; Fitch, Jackie <JFitch@cov.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>;
Jonathan.Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>; Lee, Anne <alee@cov.com>; Larkin, Brigid
                                                          7
     Case 4:20-cv-00957-SDJ Document 557-5 Filed 07/12/24 Page 9 of 16 PageID #: 19027
<BLarkin@cov.com>; Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; Gabriel Culver
<gabriel.culver@nortonrosefulbright.com>; Ethan Glenn <ethan.glenn@nortonrosefulbright.com>
Subject: RE: TX-Meta Subpoena

Thanks, Marc. We’ll plan on 9 a.m. We do plan to send you a proposal and should have that to you this afternoon.

From: Marc B. Collier <marc.collier@nortonrosefulbright.com>
Sent: Wednesday, April 24, 2024 11:26 AM
To: Patchen, Kate <KPatchen@cov.com>; Chow, Kyle W <KChow@cov.com>; Zeke DeRose III
<zeke.derose@lanierlawfirm.com>; Fitch, Jackie <JFitch@cov.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>;
Jonathan.Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>; Lee, Anne <alee@cov.com>; Larkin, Brigid
<BLarkin@cov.com>; Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; Gabriel Culver
<gabriel.culver@nortonrosefulbright.com>; Ethan Glenn <ethan.glenn@nortonrosefulbright.com>
Subject: Re: TX-Meta Subpoena

[EXTERNAL]
Hi Kate,

9 am start times are fine. Were you going to provide a proposal prior to our deposition meet and confer?

Thanks, Marc

Get Outlook for iOS

From: Patchen, Kate <KPatchen@cov.com>
Sent: Monday, April 22, 2024 7:00:37 PM
To: Marc B. Collier <marc.collier@nortonrosefulbright.com>; Chow, Kyle W <KChow@cov.com>; Zeke DeRose III
<zeke.derose@lanierlawfirm.com>; Fitch, Jackie <JFitch@cov.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>;
Jonathan.Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>; Lee, Anne <alee@cov.com>; Larkin, Brigid
<BLarkin@cov.com>; Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; Gabriel Culver
<gabriel.culver@nortonrosefulbright.com>; Ethan Glenn <ethan.glenn@nortonrosefulbright.com>
Subject: RE: TX-Meta Subpoena

Hi Marc,

Do you have availability for a meet and confer on Wednesday after noon your time? We will provide a proposal ahead
of the meeting.

The location of the deposition will be at Covington’s London Offices. The address is:

Covington & Burling
22 Bishopsgate
London EC2N 4BQ

Should we plan on a 9 a.m. local time start time for both depositions? Also, I am confirming my understanding that the
deposition length for both depositions will not exceed 11 hours based on our correspondence and agreement over the
weekend. We have likewise told Google that we will only make our witnesses available for 11 hours total.

Last, we are not able to confirm witness information until after we’ve finished conferring on the topic areas with both
parties. We may need to make adjustments to our plan depending.



                                                            8
    Case 4:20-cv-00957-SDJ Document 557-5 Filed 07/12/24 Page 10 of 16 PageID #: 19028
Best,
Kate


Kate Patchen
Covington & Burling LLP
Salesforce Tower, 415 Mission Street, Suite 5400
San Francisco, CA 94105-2533
T +1 415 591 6031 | kpatchen@cov.com
www.cov.com




From: Marc B. Collier <marc.collier@nortonrosefulbright.com>
Sent: Monday, April 22, 2024 3:44 PM
To: Patchen, Kate <KPatchen@cov.com>; Chow, Kyle W <KChow@cov.com>; Zeke DeRose III
<zeke.derose@lanierlawfirm.com>; Fitch, Jackie <JFitch@cov.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>;
Jonathan.Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>; Lee, Anne <alee@cov.com>; Larkin, Brigid
<BLarkin@cov.com>; Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; Gabriel Culver
<gabriel.culver@nortonrosefulbright.com>; Ethan Glenn <ethan.glenn@nortonrosefulbright.com>
Subject: RE: TX-Meta Subpoena

[EXTERNAL]
Kate,
Checking in on a meet-and-confer time for topics. Also, can you please identify the witnesses’ names and location
where you intend to produce them if not the NRF offices.
Thanks, Marc

From: Marc B. Collier <marc.collier@nortonrosefulbright.com>
Sent: Sunday, April 21, 2024 10:48 AM
To: Patchen, Kate <KPatchen@cov.com>; Chow, Kyle W <KChow@cov.com>; Zeke DeRose III
<zeke.derose@lanierlawfirm.com>; Fitch, Jackie <JFitch@cov.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>;
Jonathan.Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>; Lee, Anne <alee@cov.com>; Larkin, Brigid
<BLarkin@cov.com>; Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; Gabriel Culver
<gabriel.culver@nortonrosefulbright.com>; Ethan Glenn <ethan.glenn@nortonrosefulbright.com>
Subject: Re: TX-Meta Subpoena

Kate -

We have an agreement. We accept your clarification and amendment of our proposed terms and the agreed production
as constituting Meta's complete response to the document subpoena with no further supplementation required.

Let me know when it makes sense to discuss the topics in the deposition.

Thanks, Marc

From: Patchen, Kate <KPatchen@cov.com>
Sent: Sunday, April 21, 2024 12:48 AM
To: Marc B. Collier <marc.collier@nortonrosefulbright.com>; Chow, Kyle W <KChow@cov.com>; Zeke DeRose III
<zeke.derose@lanierlawfirm.com>; Fitch, Jackie <JFitch@cov.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>;
                                                           9
    Case 4:20-cv-00957-SDJ Document 557-5 Filed 07/12/24 Page 11 of 16 PageID #: 19029
Jonathan.Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>; Lee, Anne <alee@cov.com>; Larkin, Brigid
<BLarkin@cov.com>; Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; Gabriel Culver
<gabriel.culver@nortonrosefulbright.com>; Ethan Glenn <ethan.glenn@nortonrosefulbright.com>
Subject: RE: TX-Meta Subpoena

Marc,

We appreciate your willingness to work with us. Attached please find select search terms for the June 2020 CID. In
addition to providing this information, we want to confirm and clarify a few points.

    1. Document Production. We will produce directly to Texas the three document sets we proposed and that you
       agreed to below. The production process started already, and we anticipate that those documents will be
       available to you on April 23. We commit in good faith to meeting that deadline, but we may need to revisit the
       deadline with you if there are any production problems we may not be anticipating. In terms of the DOJ file, we
       cannot represent what is in the DOJ file (since Meta did not produce it and has not seen it) or that there are no
       other relevant documents in other DOJ productions. We can represent, however, that the three document sets
       we proposed and that you agreed to below reflect the custodial files we believe are most likely to contain
       information relevant to the claims at issue in this litigation. We have made the underlying CIDs available to you
       for review and are sharing the search terms, that were negotiated with DOJ, for the June 2020 CID
       (attached). We will also provide copies of deposition transcripts (subject to our pre-existing confidentiality
       designations) from the EDVA litigation.

    2. Deposition Time. The scheduling order states that “[i]f a non-party deposition is noticed by both sides, then the
       deposition will be eleven hours and will be divided equally between the sides.” As such, we believe that Meta
       should only have to provide eleven hours of testimony in total between the two witnesses.

    3. Deposition Topics. As describe in our letter to Texas, Meta’s first witness scheduled for April 30, 2024 will be
       able to cover the topics related to the later implementation of the NBA. This witness will also be able to cover
       the topics in Google’s Cross Notice. The second witness scheduled for May 2, 2024 will be able to cover topics
       related to the NBA's negotiation, execution, and early implementation. Also, we do not agree that it is possible
       to prepare a witness to testify to “anything” that occurred after the signing of the NBA and expect that we will
       be able to meet and confer early next week to reach an agreement on a more reasonable scope.

Please indicate your agreement to the above and provide your confirmation that if we make the production as agreed,
this will constitute Meta's complete response to the document requests in the subpoena issued to Meta on March 29,
2024, and we will have no further production obligations under the subpoena.

Best,
Kate


Kate Patchen
Covington & Burling LLP
Salesforce Tower, 415 Mission Street, Suite 5400
San Francisco, CA 94105-2533
T +1 415 591 6031 | kpatchen@cov.com
www.cov.com




From: Patchen, Kate
Sent: Saturday, April 20, 2024 1:59 PM

                                                           10
    Case 4:20-cv-00957-SDJ Document 557-5 Filed 07/12/24 Page 12 of 16 PageID #: 19030
To: 'Marc B. Collier' <marc.collier@nortonrosefulbright.com>; Chow, Kyle W <KChow@cov.com>; Zeke DeRose III
<zeke.derose@lanierlawfirm.com>; Fitch, Jackie <JFitch@cov.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>;
Jonathan.Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>; Lee, Anne <alee@cov.com>; Larkin, Brigid
<BLarkin@cov.com>; Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; Gabriel Culver
<gabriel.culver@nortonrosefulbright.com>; Ethan Glenn <ethan.glenn@nortonrosefulbright.com>
Subject: RE: TX-Meta Subpoena

Marc,

Thank you for your email below. We are conferring with our client and will send a reply addressing some of the details
and requests below. Given the tight deadline though, I wanted to let you know that we’ve started preparing the
production.

Best,
Kate


Kate Patchen
Covington & Burling LLP
Salesforce Tower, 415 Mission Street, Suite 5400
San Francisco, CA 94105-2533
T +1 415 591 6031 | kpatchen@cov.com
www.cov.com




From: Marc B. Collier <marc.collier@nortonrosefulbright.com>
Sent: Friday, April 19, 2024 7:21 PM
To: Chow, Kyle W <KChow@cov.com>; Zeke DeRose III <zeke.derose@lanierlawfirm.com>; Patchen, Kate
<KPatchen@cov.com>; Fitch, Jackie <JFitch@cov.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>;
Jonathan.Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>; Lee, Anne <alee@cov.com>; Larkin, Brigid
<BLarkin@cov.com>; Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; Gabriel Culver
<gabriel.culver@nortonrosefulbright.com>; Ethan Glenn <ethan.glenn@nortonrosefulbright.com>
Subject: RE: TX-Meta Subpoena

[EXTERNAL]
Kate and Kyle,

We appreciate your time tonight, your offer, and your willingness to reach an agreement to resolve this quickly. Based on
our call, this is what we understand would be a workable compromise for both sides:

    1. Documents: By the close of business Tuesday (04/23), Meta will produce directly to Texas the following
        document sets (totaling approximately 370k documents containing the documents’ original bates numbers and a
        business records declaration sufficient to authenticate the documents):

             a. Materials responsive to DOJ's May 2020 CID, which includes requests for documents relevant to the
                 development, strategy, and implementation of the NBA, as well as communications with Google re: the
                 NBA.

             b. Materials responsive to DOJ's June 2020 CID, which includes documents related to Meta's advertising
                 technology products.

             c. Materials responsive to Google's nonparty subpoena in the EDVA litigation (which you attached to your
                 letter), which includes responsive documents through 2023, and, if a Meta witness or Meta corporate
                 representative was deposed in the EDVA litigation, the transcript(s) and exhibits from the deposition(s).
                                                             11
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There are other documents in the DOJ EDVA case produced by the DOJ that were originally Meta documents, but you
have confirmed that those document sets involve investigations that predate the above information and those categories
of documents would not be relevant (except by accident) to the States’ requests.

    2. Search Terms: You confirm that search terms related to the Network Bidding Agreement (“NBA”) and Header
        Bidding were previously run on documents from relevant Meta custodians identified in response to the June 2020
        CID, specifically including the search terms:

            a.   “Network Bidding Agreement”
            b.   “NBA”
            c.   “Header Bidding”
            d.   “HB”

    3. Custodians: Meta will provide a list of the custodians for each document set at the same time that you produce
        the document sets.

Deponents: There are two notices of deposition. Meta will produce two corporate representative witnesses for deposition
for one day each with seven hours on the record each. The first deposition will occur on April 30, 2024 in your London
offices and while you will provide a more specific description it will include testimony about (1) the execution of the NBA
and anything that occurred after related to the NBA or its operation, and (2) Google’s cross-noticed topics. The second
deposition will occur on May 2, 2024 in your London offices and while you will provide a more specific description will
include testimony about anything that occurred before the execution of the NBA.

If that is agreeable to Meta, we have a deal.

Thanks, Marc
From: Marc B. Collier
Sent: Friday, April 19, 2024 6:54 PM
To: Chow, Kyle W <KChow@cov.com>; Zeke DeRose III <zeke.derose@lanierlawfirm.com>; Patchen, Kate
<KPatchen@cov.com>; Fitch, Jackie <JFitch@cov.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>;
Jonathan.Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>; Lee, Anne <alee@cov.com>; Larkin, Brigid
<BLarkin@cov.com>; Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; Gabriel Culver
<gabriel.culver@nortonrosefulbright.com>; Ethan Glenn <ethan.glenn@nortonrosefulbright.com>
Subject: RE: TX-Meta Subpoena

Kyle,
Appreciate the bullets. When we discuss, I’d like a better understanding of what is not being proposed to be produced.
Thanks, Marc

From: Chow, Kyle W <KChow@cov.com>
Sent: Friday, April 19, 2024 6:50 PM
To: Marc B. Collier <marc.collier@nortonrosefulbright.com>; Zeke DeRose III <zeke.derose@lanierlawfirm.com>;
Patchen, Kate <KPatchen@cov.com>; Fitch, Jackie <JFitch@cov.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>;
Jonathan.Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>; Lee, Anne <alee@cov.com>; Larkin, Brigid
<BLarkin@cov.com>; Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; Gabriel Culver
<gabriel.culver@nortonrosefulbright.com>; Ethan Glenn <ethan.glenn@nortonrosefulbright.com>
Subject: RE: TX-Meta Subpoena

Hi Marc,

In advance of our call, we have been able to identify the following set of documents that Meta proposes
producing to Texas:


                                                            12
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       Materials responsive to DOJ's May 2020 CID, which includes requests for documents relevant to the
        development, strategy, and implementation of the NBA, as well as communications with Google re: the
        NBA.

       Materials responsive to DOJ's June 2020 CID, which includes documents related to Meta's advertising
        technology products.

       Materials responsive to Google's nonparty subpoena in the EDVA litigation. That subpoena is attached
        to our letter and includes responsive documents that run through April 2023.

We look forward to discussing,
Kyle


From: Marc B. Collier <marc.collier@nortonrosefulbright.com>
Sent: Friday, April 19, 2024 7:24 PM
To: Chow, Kyle W <KChow@cov.com>; Zeke DeRose III <zeke.derose@lanierlawfirm.com>; Patchen, Kate
<KPatchen@cov.com>; Fitch, Jackie <JFitch@cov.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>;
Jonathan.Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>; Lee, Anne <alee@cov.com>; Larkin, Brigid
<BLarkin@cov.com>; Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; Gabriel Culver
<gabriel.culver@nortonrosefulbright.com>; Ethan Glenn <ethan.glenn@nortonrosefulbright.com>
Subject: Re: TX-Meta Subpoena

[EXTERNAL]
Kyle,

Can you please forward the discussed bullets before the call?

Thanks, Marc

Get Outlook for iOS

From: Chow, Kyle W <KChow@cov.com>
Sent: Friday, April 19, 2024 4:13:26 PM
To: Marc B. Collier <marc.collier@nortonrosefulbright.com>; Zeke DeRose III <zeke.derose@lanierlawfirm.com>;
Patchen, Kate <KPatchen@cov.com>; Fitch, Jackie <JFitch@cov.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>;
Jonathan.Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>; Lee, Anne <alee@cov.com>; Larkin, Brigid
<BLarkin@cov.com>; Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; Gabriel Culver
<gabriel.culver@nortonrosefulbright.com>; Ethan Glenn <ethan.glenn@nortonrosefulbright.com>
Subject: TX-Meta Subpoena
When: Friday, April 19, 2024 7:00 PM-7:30 PM.
Where: Microsoft Teams Meeting


[External Email – Use Caution]


Pushing back another 30 minutes to accommodate schedules.
________________________________________________________________________________


Microsoft Teams Need help?
                                                           13
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Join the meeting now
Meeting ID: 215 342 534 765
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Video ID: 111 810 404 4
More info


For organizers: Meeting options | Reset dial-in PIN




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